             Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 1 of 25




              In the United States Court of Federal Claims
                                         No. 07-456V

                                      (Filed: July 22, 2011)

                                              )
W. C.,                                        )      Vaccine case; off-table claim involving
                                              )      multiple sclerosis allegedly caused
                       Petitioner,            )      by flu vaccine; alternative significant-
                                              )      aggravation off-table claim; entitlement
         v.                                   )      issues; statutory criteria for redaction of
                                              )      identity or medical files and information;
SECRETARY OF HEALTH AND                       )      unwarranted invasion of privacy
HUMAN SERVICES,                               )
                                              )
                       Respondent.            )
                                              )

       Sylvia Chin-Caplan and Meredith Daniels, Conway, Homer, & Chin-Caplan, P.C.,
Boston, Massachusetts., for petitioner. With them on the brief was Ronald C. Homer, Conway,
Homer, & Chin-Caplan, P.C., Boston, Massachusetts.

       Debra A. Filteau Begley, Trial Attorney, Torts Branch, Civil Division, United States
Department of Justice, Washington, D.C., for respondent. With her on the brief was Tony West,
Assistant Attorney General, Mark W. Rogers, Acting Director, Torts Branch, Vincent J.
Matanoski, Acting Deputy Director, Torts Branch, and Gabrielle M. Fielding, Assistant Director,
Torts Branch, Civil Division, United States Department of Justice, Washington, D.C.

                                     OPINION AND ORDER 1
LETTOW, Judge.

        Petitioner, W. C., seeks review of two decisions by a special master — one denying him
compensation under the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660,
§ 311, 100 Stat. 3743, 3755 (1986) (codified, as amended, at 42 U.S.C. §§ 300aa-1 to -34
(“Vaccine Act”)), and another denying his motion to redact portions of the decision denying him
compensation.

       Mr. C. alleges that his receipt of a flu vaccine in December 2004 caused the onset of his
multiple sclerosis or, alternatively, significantly aggravated his existing, but at the time
asymptomatic, multiple sclerosis. See W. C. v. Secretary of Health & Human Servs., No. 07-456



         1
         In accord with the Rules of the Court of Federal Claims (“RCFC”), App. B, Rule 18(b),
this opinion and order is initially being filed under seal. By rule, the parties are afforded
fourteen days within which to propose redactions.
           Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 2 of 25



(Fed. Cl. Spec. Mstr. Feb. 22, 2011), ECF No. 68 (“Entitlement Decision”) at 2. 2 The special
master found that Mr. C. had developed multiple sclerosis before receiving the flu vaccine, but
then also determined the record “d[id] not support a finding that Mr. C[.] ha[d] established . . . a
medical theory causally connecting the flu vaccine to an aggravation of multiple sclerosis.”
Entitlement Decision at 24.

       Subsequently, Mr. C. filed a motion requesting redaction of his name from the
Entitlement Decision, pursuant to 42 U.S.C. § 300aa-12(d)(4)(B) and Vaccine Rule 18(b).
Alternatively, Mr. C. moved that the decision be redacted to conceal the details of his medical
condition. Both of petitioner’s motions for redaction were denied. See W. C. v. Secretary of
Health & Human Servs., No. 07-456 (Fed. Cl. Spec. Mstr. Mar. 16, 2011), ECF No. 73
(“Redaction Decision”) at 4.

       In this court, petitioner seeks reversal of both of the special master’s decisions, while
respondent supports both decisions.

                                              FACTS

                                   A. Mr. C.’s Medical History

       Mr. C. received the flu vaccination on December 13, 2004, when he was thirty-four years
old. See Entitlement Decision at 2. Before December 13, Mr. C. was not displaying any clinical
symptoms of neurological problems and described himself as healthy. Id.

        On December 24, 2004, Mr. C.’s left arm and hand became numb. Entitlement Decision
at 2. He also noticed numbness on the left side of his head and face. Id. The special master
noted in the Entitlement Decision that both the petitioner’s and the government’s experts agreed
that “Mr. C[.]’s report of numbness [was] the first expression of his neurological problem.” Id.
at 2-3.

      Five days later, on December 29, Mr. C. saw his family doctor, Deborah Darrington, who
recommended that Mr. C. undergo an MRI. Entitlement Decision at 3. 3 The MRI was

       2
         Multiple sclerosis is “a disease in which there are [centers] of demyelination throughout
the white matter of the central nervous nervous system, sometimes extending into the gray
matter; symptoms usually include weakness, incoordination, paresthesias, speech disturbances,
and visual complaints.” Dorland’s Illustrated Medical Dictionary 1706 (31st ed. 2007).
Demyelination is the “destruction, removal, or loss of the myelin sheath of a nerve or nerves.”
Dorland’s at 493.
        The myelin sheath is “the cylindrical covering of the axons on some neurons . . .
consist[ing] of concentric layers of myelin . . . . Myelin is an electric insulator that serves to
speed the conduction of nerve impulses.” Dorland’s at 1726; see also id. at 1237 (defining
myelin).
       3
       MRI stands for magnetic resonance imaging. Dorland’s at 1203. An MRI uses
magnetic fields and radio frequency waves to visualize structures in the body. To create an
                                                  2
           Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 3 of 25



performed on December 30, 2004, with and without a contrast agent. Id. A contrast agent, for
example, gadolinium, can be used to determine if there is an existing breach in the blood-brain
barrier. Id. at 9. Gadolinium is injected into a person’s blood. If there is an existing breach, the
gadolinium enters the brain, and lesions 4 in the brain appear “enhanced” on the MRI. Id. When
there has been damage to the blood-brain barrier, but the body has repaired the damage at least to
the extent that the breach no longer exists as an active matter, lesions will no longer appear
enhanced. Id.

       Dr. Jason Arthur, the interpreting physician, reported,

               Scattered nonspecific T2 high signal lesions are noted in
               the deep white matter. Findings on MRI in conjunction
               with the patient’s clinical history suggest multiple sclerosis
               as a possible etiology. There is focal high T2 signal
               intensity lesion within the anterior aspect of the corpus
               callosum on the right and within the posterior body of the
               corpus callosum within the midline. There are no focal
               contrast enhancing lesions.

Ex. 1 at 27 (Report of Dr. Arthur (Dec. 30, 2004)) (quoted in Entitlement Decision at 3). 5
Dr. Arthur’s observation that there were “no focal enhancing contrast lesions” indicates that any
blood-brain barrier disruption had healed prior to the MRI conducted on December 30th.

        Mr. C.’s symptoms abated but then reappeared during a deer hunting expedition on
January 8, 2005. Entitlement Decision at 3. That night, he lost most motor functions in his left
hand and arm. Id. Two days later, Mr. C. saw a neurologist, John Hannam. Dr. Hannam
commented, “[T]he MRI findings . . . conceivably could be explained by multiple sclerosis and it
is possible that the recent onset of his left sided tingling and numbness represents the first
clinical attack.” Id. (quoting Ex. 1 at 34 (Notes of Dr. Hannam (Jan. 12, 2005))). Dr. Hannam
also requested an analysis of Mr. C.’s spinal fluid. The analysis showed the absence of
oligoclonal bands in the fluid. Dr. Hannam commented at the time, “[I]t remains unclear
whether [Mr. C.] does or [does] not have [multiple sclerosis].” Entitlement Decision at 3
(quoting Ex. 1 at 50 (Notes of Dr. Hannam (Jan. 19, 2005))).



image, a patient is positioned within a magnetic field as radio wave signals are conducted
through a selected part of the body. Energy is absorbed by tissues and then released. Stedman’s
Medical Dictionary B13 (28th ed. 2006).
       4
        A lesion is “any pathological or traumatic discontinuity of tissue or loss of function of a
part.” Dorland’s at 1039.
       5
         Exhibits submitted by the parties will be cited by their assigned number. References to
the transcript of the hearings conducted by the special master will be to “Tr. __.” In contrast, the
transcript of the hearing conducted by the court on June 14, 2011 will be cited as “Hr’g Tr. __.”


                                                 3
           Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 4 of 25



       Five days later, Mr. C. called Dr. Hannam because someone had told him about Guillain-
Barré syndrome, which may be caused by flu vaccines. Entitlement Decision at 3. 6 Mr. C.
informed Dr. Hannam that he had received a flu shot eleven days before his symptoms appeared.
Id. Dr. Hannam responded that his clinical findings did not support a diagnosis of Guillain-Barré
syndrome. Id. During the phone call, Mr. C. also reported that his symptoms were improving.
Id.

        Mr. C. returned to Dr. Hannam for an office visit on February 22, 2005. He reported
some tingling in the tips of the finger of his left hand and “remain[ed] suspicious that there [was]
a causal connection between his symptoms and receiving the flu shot.” Entitlement Decision at 4
(quoting Ex. 1 at 50 (Notes of Dr. Hannam (Feb. 22, 2005))). Dr. Hannam told Mr. C. that the
evidence indicated he did not have Guillain-Barré, but showed that he might have developed
multiple sclerosis. Id. Dr. Hannam wrote in his notes that “if [Mr. C.] had [multiple sclerosis],
[he] c[ould]n’t blame it on the flu shot.” Id. (quoting Ex. 1 at 50). Dr. Hannam recommended
that Mr. C. consult with another doctor, Rifaat Bashir, who specialized in multiple sclerosis, and
his family doctor, Dr. Darrington, concurred with Dr. Hannam’s suggestion.

       Mr. C. met with Dr. Bashir on March 22, 2005. At that time, he told Dr. Bashir that his
“main symptoms are sensory and come on with exercise.” Entitlement Decision at 4. Dr. Bashir
conducted a neurological examination and concluded,

               I believe that Mr. C[.] had [a] clinically isolated syndrome
               in December [2004] that gave him the sensory changes in
               his left upper extremity and neck. His head MRI scan
               is . . . consistent with a demyelinating disease. He could
               have had a single isolated event possibly related to his
               vaccination which he did receive about two weeks before
               the event. At this point in time, I am not absolutely sure
               whether he is going to progress to multiple sclerosis or not.
               If he develops another event in another area[,] th[e]n he
               certainly has the condition. Another way to arrive at the
               diagnosis would be to repeat his MRI scan of the head and
               cervical spine and see if he has any new lesions. If he does,
               one can make a diagnosis of . . . multiple sclerosis.

Ex. 1 at 46 (Letter from Dr. Bashir to Dr. Darrington (Mar. 22, 2005)).

      Mr. C. had another MRI on March 23, 2005, which showed “[t]hree small foci of signal
abnormality . . . show[ing] no mass-effect or pathologic-enhancement.” Ex. 7 at 31. On April 6,

       6
        Guillain-Barré syndrome is also known as “acute idiopathic polyneuritis,” which is a
“rapidly progressive ascending motor neuron paralysis of unknown etiology . . . . It begins with
paresthesias of the feet, followed by flaccid paralysis of the entire lower limbs, ascending to the
trunk, upper limbs, and face.” Dorland’s at 822, 1513. It has been postulated that the cause of
Guillain-Barré is an autoimmune reaction, in which the body develops an immune response to,
and attacks, its own tissues. Id. at 183, 1513.
                                                 4
           Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 5 of 25



2005, Mr. C. returned to Dr. Bashir, who reported that the MRI “showed findings consistent with
[acute disseminating encephalomyelitis (‘ADEM’)].” 7 Entitlement Decision at 4 (citing Ex. 7 at
9-10; Neil M. Davis, Medical Abbreviations 39 (12th ed. 2005)). Dr. Bashir ordered nerve
conduction studies, which were normal, and an electromyography (“EMG”), 8 which showed no
evidence of denervation. Entitlement Decision at 4. 9 At Mr. C.’s next appointment with
Dr. Darrington, Mr. C. told her that “Dr. Bashir [felt] that [Mr. C.’s] symptoms could represent
an acute [demyelinating] polyneuropathy . . . [or] could . . . represent early multiple sclerosis.”
Id. at 4-5 n. 1 (quoting Ex. 1 at 5 (Notes of Dr. Darrington (May 11, 2005))). 10

        Mr. C. had another MRI on June 28, 2005, which showed the same three lesions
described in the March 23, 2005 MRI. Entitlement Decision at 5. The examining doctor also
reported seeing a “new very ill-defined 7.9 mm focus of signal abnormality,” which was the only
lesion showing enhancement. Id. (quoting Ex. 7 at 25 (Report of Dr. Bashir for Exam Date June
28, 2005)). The doctor concluded Mr. C.’s condition “likely . . . represent[ed] [a]cute
[d]isseminating [e]ncephalomyelitis since there ha[d] been interval worsening and not
improvement” in the intervening months, but that a “white matter demyelineating process such
as multiple sclerosis w[ould] have to be considered in the differential diagnosis.” Ex. 7 at 26;
see also Entitlement Decision at 5.

        On June 28, 2005, Dr. Bashir sent a letter to Dr. Darrington, stating, “In view of the new
area of enhancement[,] I think a diagnosis of clinically supported [multiple sclerosis] can be
made.” Ex. 7 at 7 (Letter from Dr. Bashir to Dr. Darrington (June 28, 2005)). Dr. Bashir wrote a
prescription for Mr. C. and proceeded to treat Mr. C. for multiple sclerosis. Entitlement Decision
at 5.
                                       B. Multiple Sclerosis

       Multiple sclerosis is a disorder of the central nervous system. Entitlement Decision at 5.
In multiple sclerosis, parts of the central nervous system are subject to an autoimmune attack and


       7
        Acute disseminating encephalomyelitis is an acute or subacute inflammation of the brain
and spinal cord, or an inflammation of the spinal cord characterized by a perivascular
lymphocyte and mononuclear cell infiltration and demyelination. Dorland’s at 621, 1237
(defining acute disseminating encephalomyelitis and myelitis, respectively); see also id. at 950
(defining infiltration as “the pathological accumulation in tissues or cells of substances not
normal to it or in amounts in excess of the normal”).
       8
         An EMG or electromyography is “an electrodiagnostic technique for recording the
extracellular activity . . . of skeletal muscles at rest, during voluntary contractions, and during
electrical stimulation.” Dorland’s at 609.
       9
           Denervation is the “resection or removal of the nerves to an organ or part.” Dorland’s at
493.
       10
        Demyelinating polyneuropathy is “any . . . neurologic condition[] in which
demyelination of multiple nerves is the primary symptom.” Dorland’s at 1513.
                                                  5
         Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 6 of 25



experience inflammation with resulting demyelination. Id. Multiple sclerosis occurs at a rate of
about one case per one thousand people. Id.

        For many years, researchers have considered multiple sclerosis to be an autoimmune
disease, 11 although other theories of pathogenesis are being explored. Entitlement Decision at 5.
These alternative theories include the postulate that multiple sclerosis is a neurodegenerative
disorder, id. (citing Ex. C, Tab 2 (Bruce D. Trapp & Klaus-Armin Nave, Multiple Sclerosis: An
Autoimmune or Neurodegenerative Disorder, 31 Ann. Rev. Neurosci. 247, 247 (2008))), based
in part on research showing that inflammation of the central nervous system in mice can be
produced without nerve dysregulation. Id. (citing Tr. 173-78; Ex. C, tab 1, Henry F. McFarland
& Roland Martin, Multiple Sclerosis: A Complicated Picture of Autoimmunity, 8 Nature
Immunology 913 (2007)). The cause of multiple sclerosis is not known, but members of the
medical community believe that it starts when there is a breach in the barrier separating the blood
in the circulatory system from the brain. Entitlement Decision at 6. Immune system cells cross
into the brain and mistakenly attack parts of the central nervous system. These attacks lead to
inflammation and to the formation of lesions. Id. (citing Ex. C, Tab 2 (Trapp & Nave, at 248-
49)).

        Multiple sclerosis is classified into different types. The most common type of multiple
sclerosis, and the type afflicting Mr. C., is known as relapsing remitting multiple sclerosis.
Entitlement Decision at 6. A more severe form, chronic progressive multiple sclerosis, is
markedly more disabling. People with relapsing remitting multiple sclerosis usually have
approximately one relapse of multiple sclerosis per year. Id. Like the cause of the onset of
multiple sclerosis, the cause of relapses of multiple sclerosis is not known. Id.

                               C. The Special Master’s Decision

        In June 2007, Mr. C. filed his petition for vaccine compensation and medical records,
claiming that the flu vaccination had caused his multiple sclerosis. In response to Mr. C.’s
petition, the government recommended that compensation be denied, arguing that Mr. C. had not
offered “a reputable medical or scientific theory causally connecting the vaccine to any alleged
injury.” Entitlement Decision at 6 (quoting Resp’t’s Report at 10).

         In support of his petition, Mr. C. submitted a report and associated medical pages and
literature from his expert, Dr. Carlo Tornatore, the director of the Multiple Sclerosis Center at
Georgetown University Hospital. Dr. Tornatore opined that the influenza vaccination caused
Mr. C.’s multiple sclerosis. Entitlement Decision at 6. To explain how the influenza vaccine
could cause multiple sclerosis, Dr. Tornatore relied upon the theory of antigen cross-reaction,
also known as molecular mimicry. Id. at 7. Dr. Tornatore cited various medical textbooks and
case reports that have reported “an association between influenza vaccine and a number of
autoimmune disorders.” Id. (quoting Ex. 12 at 14 (Expert Report of Dr. Tornatore (Feb. 22,

       11
          An autoimmune disease is “a disorder caused by an immune response directed against
self-antigens.” Dorland’s at 536. Self-antigens, or autoantigens, are antigens that, “despite
being a normal tissue constituent, [are] the target of a humoral or cell-mediated immune
response.” Id. at 107, 182.
                                                 6
         Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 7 of 25



2008) (ECF No. 15))). Additionally, Dr. Tornatore observed that there was a “temporal
relationship [between] the vaccination and the onset of symptoms.” Entitlement Decision at 7
(quoting Ex. 12 at 15).

       In response to Dr. Tornatore’s report, the government proffered an expert report from
Dr. Arun Venkatesan. Dr. Venkatesan is an assistant professor in the Department of Neurology
at Johns Hopkins University. In his expert report, Dr. Venkatesan concluded that “the influenza
vaccination did not cause” Mr. C.’s multiple sclerosis and that “the medical literature does not
support a biologically plausible link between influenza vaccination and [multiple sclerosis].”
Entitlement Decision at 7 (quoting Ex. A at 1, 3 (Expert Report of Dr. Venkatesan (May 20,
2008)) (ECF No. 18))).

        A hearing was held in Washington, D.C., on November 4, 2008, at which Dr. Tornatore
and Dr. Venkatesan both testified. During this hearing, Dr. Venkatesan opined, for the first time,
that the lesions detected in the MRI conducted on December 30, 2004 must have existed for at
least three weeks prior to December 30, because they had not shown enhancement in the MRI.
Entitlement Decision at 8 (citing Tr. 144:8 to 145:23 (Nov. 4, 2008) (Test. of Dr. Venkatesan)).
Dr. Venkatesan asserted that studies have measured the duration of lesion enhancement and,
according to these studies, new lesions tended to show enhancement for an average of three
weeks or longer. Tr. 144:12 to 145:8 (Nov. 4, 2008). He believed the unenhanced lesions
detected in the MRI conducted on December 30, 2004 were “unlikely” to be new enough to have
been caused by the flu vaccine. Tr. 145:4-8 (Nov. 4, 2008); Entitlement Decision at 8. After the
hearing, the government was asked to supply the articles on which Dr. Venkatesan relied for this
assertion. Entitlement Decision at 8.

        Respondent filed the requested materials, and Mr. C. was given an opportunity to obtain
and provide a supplemental report from Dr. Tornatore, which was filed on March 9, 2009.
Entitlement Decision at 8. Dr. Tornatore stated the duration of enhancement was shorter than the
period suggested by Dr. Venkatesan, and that the non-enhanced lesions on Mr. C.’s December
30, 2004 MRI could have been caused by the December 13, 2004 flu vaccination. Id. (citing Ex.
27 at 2-3 (Supplemental Expert Report of Dr. Tornatore (Mar. 7, 2009))). The competing views
regarding the onset of Mr. C.’s lesions were the subject of a second hearing, held on November
17, 2009.

        After the second hearing, the parties filed briefs and the special master issued a decision
denying Mr. C.’s petition for compensation. The special master found that Mr. C. had sub-
clinical multiple sclerosis before his vaccination, see Entitlement Decision at 13; and that the flu
vaccine did not significantly aggravate Mr. C.’s multiple sclerosis. Id. at 23-24.

        Following the decision, Mr. C. filed motions requesting redaction of his name, or
alternatively, information concerning his medical condition, from the Entitlement Decision
pursuant to 42 U.S.C. § 300aa-12(d)(4)(B) and Vaccine Rule 18(b). He argued that revealing his
name in connection with his medical condition would constitute an “unwarranted invasion of
privacy” because, through his work at a federal governmental department, he frequently testifies
“on behalf of the government in cases involving criminal and administrative violations of
immigration and nationality laws.” Aff. of W. C. at 2 (Mar. 3, 2011). Mr. C. expressed concern

                                                 7
         Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 8 of 25



that the public release of his identity with information concerning his medical condition “could
be used to discredit” his testimony. Id. Both of petitioner’s motions for redaction were denied.

        Mr. C. has moved for review by this court of the special master’s decisions on
entitlement and redaction. Having been briefed and argued, the issues are ready for disposition.

                                          ANALYSIS

                                    I. Entitlement Decision

        Mr. C. seeks review of the special master’s Entitlement Decision on several grounds.
Mr. C. argues that the special master did not properly analyze the theory that the flu vaccine
caused his multiple sclerosis (his “direct-causation claim”) under Althen, and that the special
master’s conclusion that Mr. C. had pre-existing subclinical multiple sclerosis was arbitrary and
capricious. Pet’r’s Mem. at 10, 13, 18. Mr. C. also contends that the special master did not use
the correct legal standard to evaluate his substantial-aggravation claim, and that the special
master’s finding that the flu vaccine did not substantially aggravate Mr. C.’s multiple sclerosis
was arbitrary and capricious. Id. at 26, 28.

                                    A. Standards for Review

        Upon review of a special master’s decision, the court does not “reweigh the factual
evidence,” “assess whether the special master correctly evaluated the evidence,” or “examine the
probative value of the evidence or the credibility of the witnesses.” Lampe v. Secretary of
Health & Human Servs., 219 F.3d 1357, 1360 (Fed. Cir. 2000) (internal quotation marks
omitted) (quoting Munn v. Secretary of Health & Human Servs., 970 F.2d 863, 871 (Fed. Cir.
1992)). “[R]eversible error is ‘extremely difficult to demonstrate’ if the special master ‘has
considered the relevant evidence of record, drawn plausible inferences and articulated a rational
basis for the decision.’” Lampe, 219 F.3d at 1360 (quoting Hines ex rel. Sevier v. Secretary of
Health & Human Servs., 940 F.2d 1518, 1528 (Fed. Cir. 1991)). Nonetheless, this court must
“set aside any findings of fact or conclusion of law of the special master found to be arbitrary,
capricious, an abuse of discretion, or otherwise not in accordance with law.” 42 U.S.C. § 300aa-
12(e)(2)(B).

        The Vaccine Act provides for two means of recovery: table claims and off-table claims.
“In a table claim, a claimant who shows that he or she received a vaccination listed in the
Vaccine Injury Table (‘table’), 42 U.S.C. § 300aa-14, and suffered an injury listed in the table
within a prescribed period is afforded a presumption of causation.” Andreu v. Secretary of
Health & Human Servs., 569 F.3d 1367, 1374 (Fed. Cir. 2009). By contrast, a petitioner making
an off-table claim is required to prove actual causation by a preponderance of the evidence. See
Moberly v. Secretary of Health & Human Servs., 592 F.3d 1315, 1321 (Fed. Cir. 2010). To
prove actual causation, a petitioner must “show that the vaccine was ‘not only a but-for cause of
the injury but also a substantial factor in bringing about the injury.’” Id. at 1321-22 (quoting
Shyface v. Secretary of Health & Human Servs., 165 F.3d 1344, 1352-53 (Fed. Cir. 1999)).




                                                8
         Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 9 of 25



        Mr. C. has proffered two alternative theories under which he could recover on his off-
table claim — that the flu vaccine caused his multiple sclerosis, and that the flu vaccine
significantly aggravated pre-existing multiple sclerosis. To prevail on his direct-causation claim,
Mr. C. must prove three different, but largely overlapping, elements:

               (1) a medical theory causally connecting the vaccination
               and the injury; (2) a logical sequence of cause and effect
               showing that the vaccination was the reason for the injury;
               and (3) a showing of a proximate temporal relationship
               between vaccination and injury.

Althen v. Secretary of Health & Human Servs., 418 F.3d 1274, 1278 (Fed. Cir. 2005). A plaintiff
must satisfy all three of Althen’s prongs by preponderant evidence. See Capizzano v. Secretary
of Health & Human Servs., 440 F.3d 1317, 1327 (Fed. Cir. 2006). In making this showing,
“evidence used to satisfy one of the Althen . . . prongs can[] overlap to satisfy another prong.”
Id. 12 “A petitioner must provide a reputable medical or scientific explanation that pertains
specifically to the petitioner’s case, although the explanation need only be ‘legally probable, not
medically or scientifically certain.’” Moberly, 592 F.3d at 1322 (quoting Knudsen v. Secretary
of Health & Human Servs., 35 F.3d 543, 548-49 (Fed. Cir. 1994)).

        To prevail on his alternative claim that the flu vaccine significantly aggravated his
multiple sclerosis, Mr. C. must establish six elements. As this court explained in Loving v.
Secretary of Health & Human Services, 86 Fed. Cl. 135, 144 (2009), a petitioner can prevail on a
significant-aggravation off-table claim by establishing the three direct-causation Althen prongs as
well as three elements articulated by the Federal Circuit in Whitecotton v. Secretary of Health &
Human Services, 81 F.3d 1099, 1107 (Fed. Cir. 1996). In Whitecotton, the Federal Circuit
articulated a four-part test to govern significant-aggravation for table claims. 81 F.3d at 1107.
The fourth prong of the Whitecotton test required reference to the vaccine table, but it essentially
aimed at determining whether the aggravation could have been caused by the vaccine. This court
reasoned in Loving that an appropriate test for significant-aggravation off-table claims would be
to consider the first three prongs articulated in Whitecotton in combination with the three Althen
prongs, which set forth a means to establish causation in off-table claims. Accordingly, for a
petitioner to establish that a vaccine significantly aggravated an existing ailment in an off-table
claim, the petitioner must show preponderant evidence of:

               (1) the person’s condition prior to administration of the
               vaccine, (2) the person’s current condition (or the condition
               following the vaccination if that is also pertinent),

       12
          For example, in Capizzano, the petitioner had satisfied the first and third prongs of
Althen. See 440 F.3d at 1326 (“[T]he first prong of the Althen . . . test was satisfied by the
finding that the hepatitis B vaccine can cause RA [rheumatoid arthritis]. The third prong was
satisfied by the finding that Ms. Capizzano’s RA appeared within days of receiving the
vaccine.”) (citations omitted). Regarding the second prong, the court of appeals concluded that
the special master had “erred in not considering the opinions of the treating physicians who
concluded that the vaccine was the cause of Ms. Capizzano’s injury.” Id.
                                                 9
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 10 of 25



               (3) whether the person’s current condition constitutes a
               “significant aggravation” of the person’s condition prior to
               vaccination, (4) a medical theory causally connecting such
               a significantly worsened condition to the vaccination, (5) a
               logical sequence of cause and effect showing that the
               vaccination was the reason for the significant aggravation,
               and (6) a showing of a proximate temporal relationship
               between the vaccination and the significant aggravation.

Loving, 86 Fed. Cl. at 144.

        Under either of Mr. C.’s theories, he must establish his case by preponderant evidence.
The preponderant-evidence standard requires that a petitioner demonstrate proof “by a simple
preponderance, of ‘more probable than not’ causation.” Althen, 418 F.3d at 1279 (citing
Hellebrand v. Secretary of Health & Human Servs., 999 F.2d 1565, 1572-73 (Fed. Cir. 1993)).
This standard “simply requires the trier of fact to believe that the existence of a fact is more
probable than its nonexistence.” Moberly, 592 F.3d at 1322 n.2 (quoting Concrete Pipe &
Prods. of Cal., Inc. v. Construction Laborers Pension Trust for S. Cal., 508 U.S. 602, 622
(1993)). As applied to vaccine cases, the preponderant standard means that although a claimant
must provide a plausible medical theory, a claimant need not offer “identification and proof of
specific biological mechanisms[—a requirement that] would be inconsistent with the purpose
and nature of the vaccine compensation program.” Knudsen, 35 F.3d at 549; see also Capizzano,
440 F.3d at 1325; Althen, 418 F.3d at 1280. Thus, “[t]he fact that a link between a vaccine and a
particular injury is a ‘sequence hitherto unproven in medicine’ will not bar recovery, because
‘the purpose of the Vaccine Act’s preponderance standard is to allow the finding of causation in
a field bereft of complete and direct proof of how vaccines affect the human body.’” Rotoli v.
Secretary of Health & Human Servs., 89 Fed. Cl. 71, 79 (2009) (quoting Althen, 418 F.3d at
1280); see also Capizzano, 440 F.3d at 1324.

        The Vaccine Act provides that a claimant may satisfy the preponderance standard “by
medical records or by medical opinion.” 42 U.S.C. § 300aa-13(a)(1). Accordingly, a special
master may not require “‘epidemiologic studies . . . or general acceptance in the scientific or
medical communities’” because such prerequisites would “‘impermissibly raise[] a claimant’s
burden.’” Andreu, 569 F.3d at 1378 (quoting Capizzano, 440 F.3d at 1325-26); see also
Moberly, 592 F.3d at 1325; Althen, 418 F.3d at 1280 (holding that requiring a claimant to
provide “medical literature” “contravenes section 300aa-13(a)(1)’s allowance of medical opinion
as proof”). Nor may the special master require a claimant to present proof of pathological
markers or genetic predisposition to an adverse immunological response. See Capizzano, 440
F.3d at 1325-26. To the contrary, the Federal Circuit has explained that “the use of
circumstantial evidence [is] envisioned by the preponderance standard.” Althen, 418 F.3d at
1280; see also Andreu, 569 F.3d at 1379 (“[A] paucity of medical literature supporting a
particular theory of causation cannot serve as a bar to recovery.”). “Thus, for example, causation
can be found in vaccine cases based on epidemiological evidence and the clinical picture
regarding the particular [claimant] without detailed medical and scientific exposition on the
biological mechanisms.” Knudsen, 35 F.3d at 549.



                                               10
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 11 of 25



        Equally importantly, special masters in Vaccine Act cases are “entitled to require some
indicia of reliability to support the assertion of the expert witness.” Moberly, 592 F.3d at 1324.
Additionally, where epidemiological evidence or medical literature is submitted, “the special
master can consider it in reaching an informed judgment as to whether a particular vaccination
likely caused a particular injury.” Andreu, 569 F.3d at 1379. Such evidence, however, must be
viewed “not through the lens of the laboratorian, but instead from the vantage point of the
Vaccine Act’s preponderant evidence standard.” Id. at 1380.

        In sum, there are no “hard and fast per se scientific or medical rules” for finding
causation under the Vaccine Act. Knudsen, 35 F.3d at 548. It is evident, however, that “[t]he
Vaccine Act does not contemplate full blown tort litigation in the Court of Federal Claims.” id. at
549, and “close calls regarding causation are [to be] resolved in favor of injured claimants.”
Althen, 418 F.3d at 1280.

                               B. Petitioner’s Direct-Causation Claim

       1. The starting point of the special master’s analysis.

       In his Entitlement Decision, the special master began his analysis by first determining
whether or not Mr. C. already had multiple sclerosis when he received the flu vaccine. See
Entitlement Decision at 9. After concluding that Mr. C.’s multiple sclerosis predated the flu
vaccination, the special master only explicitly analyzed whether the vaccination significantly
aggravated Mr. C.’s multiple sclerosis. See id. at 13. 13

        Mr. C. criticizes the special master’s analysis from two perspectives. First, he argues that
the special master erred by choosing which of petitioner’s theories to analyze, instead of
analyzing both. Second, and relatedly, he claims that the special master was required to analyze
his theory that the flu vaccine caused his multiple sclerosis under Althen, and failed to do so.

        In choosing to first determine whether Mr. C. had preexisting multiple sclerosis, the
special master relied on Broekelschen v. Secretary of Health & Human Services, 618 F.3d 1339
(Fed. Cir. 2010). Broekelschen stands for the proposition that, when “the injury itself is in
dispute, the proposed injuries differ significantly in their pathology, and the question of
causation turns on which injury [the petitioner] suffered,” it is “appropriate . . . for the special
master to first determine which injury [i]s best supported by the evidence presented in the record
before applying the Althen test.” Id. at 1346. In Broekelschen, the parties disputed which
disease the petitioner suffered — transverse myelitis or anterior spinal artery syndrome. Id.
While these two conditions had “overlapping symptoms, their underlying causes or etiology are
completely different.” Id.



       13
         The special master concluded that “the record . . . supports a finding that Mr. C[.]’s
lesions existed before the vaccination. This finding necessarily means that Mr. C[.] cannot
prevail on his theory that the flu vaccine caused his multiple sclerosis.” Entitlement Decision at
13.


                                                 11
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 12 of 25



        In holding that “identifying the injury is a prerequisite to the [Althen] analysis,” 618 F.3d
at 1346, the court of appeals in Broekelschen distinguished the facts before it from those of two
other vaccine cases, Andreu, 569 F.3d 1367; and Kelley v. Secretary of Health & Human
Services, 68 Fed. Cl. 84 (2005). In Andreu, the parties disputed whether the petitioner suffered
from a febrile or afebrile seizure in response to receipt of the DPT vaccine. However, the
Federal Circuit held that an exact diagnosis was not required to determine whether the vaccine
caused the petitioner’s injury, because both parties agreed that “whatever caused [the
petitioner’s] first seizure also led to his subsequent seizure disorder.” Andreu, 569 F.3d at 1381.
Similarly, in Kelley, the petitioner was not required to classify his injury precisely where the two
possible diagnoses were “variants of the same disorder.” 68 Fed. Cl. at 100-01.

        In Mr. C.’s case, the nature of his injury is not in question. Mr. C. suffers from multiple
sclerosis and suffered several episodes of multiple sclerosis following his flu vaccination.
Accordingly, Broekelschen is inapposite and the special master should have evaluated both
whether the flu vaccine caused and whether it significantly aggravated Mr. C.’s multiple
sclerosis.

        Nonetheless, although the special master did not explicitly conduct an Althen analysis on
Mr. C.’s claim that the flu vaccine directly caused his multiple sclerosis, he performed such an
analysis implicitly. The special master’s conclusion that Mr. C’s lesions existed before the
vaccination bears on the second and third prongs of Althen. The second prong of Althen looks to
whether “it is logical to conclude that the vaccine was the cause of [the injury] (the effect).”
Capizzano, 440 F.3d at 1326. If Mr. C. developed multiple sclerosis before he received the flu
vaccine, then he cannot establish “a logical sequence . . . showing that the vaccination was the
reason” for his multiple sclerosis, because the multiple sclerosis existed before the vaccination.
See Althen, 418 F.3d at 1278. Correspondingly, the third prong of Althen “requires preponderant
proof that the onset of symptoms occurred within a time[ ]frame for which, given the medical
understanding of the disorder’s etiology, it is medically acceptable to infer causation-in-fact.”
de Bazan v. Secretary of Health & Human Servs., 539 F.3d 1347, 1352 (Fed. Cir. 2008); see
also Pafford v. Secretary of Health & Human Servs., 451 F.3d 1352, 1358 (Fed. Cir. 2006)
(“Evidence demonstrating petitioner’s injury occurred within a medically acceptable time frame
bolsters the link between the injury alleged and the vaccination at issue under the ‘but-for’ prong
of the causation analysis.”). If Mr. C. became ill before receiving the vaccine, a fortiori, he
cannot show that his acquiring multiple sclerosis “occurred within a medically acceptable time
frame” of the vaccination to demonstrate that the vaccine was a ‘but-for’ cause of his multiple
sclerosis. Pafford, 451 F.3d at 1358. Thus, the special master’s mistaken analysis under
Broekelschen can be understood as an implicit finding that Mr. C. did not satisfy Althen prongs
two and three and therefore did not establish by preponderant evidence that his vaccination
caused his multiple sclerosis.

       2. The special master’s core factual findings.

       Mr. C. next urges the court to hold that the special master’s factual finding that Mr. C.
had subclinical multiple sclerosis prior to his flu vaccination was arbitrary, capricious, and an
abuse of discretion. Pet’r’s Mem. at 13.



                                                 12
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 13 of 25



        The disagreement between petitioner’s expert, Dr. Tornatore, and the government’s
expert, Dr. Venkatesan, about when Mr. C. contracted multiple sclerosis turned on the fact that
the lesions that appeared in Mr. C.’s MRI conducted on December 30, 2004 did not appear to be
enhanced. In Dr. Venkatesan’s view, if the lesions had not developed until after Mr. C.’s
vaccination, “at least one of them [still] should have been enhanced when the MRI was done[,
seventeen] days after [the] vaccination.” Entitlement Decision at 11 (citing Tr. 289:2-19 (Nov.
17, 2009) (Dr. Venkatesan)); see also Tr. 289:2-19 (Dr. Venkatesan) (“I felt it would be unlikely
that those [six] lesions [observed in the December 30 MRI] would not be enhancing, given the
timespan between the vaccination and the MRI scan. . . . I was quite surpris[ed] none of them
were.”). In contrast, Dr. Tornatore believed there was enough time following Mr. C.’s
vaccination for lesions to have developed and healed. See Tr. 339:10 to 341:9 (Nov. 17, 2009)
(Dr. Tornatore).

         The special master found Dr. Venkatesan’s reasoning more persuasive, and explained
how he reached this opinion by reference to a study reported in 2003. See Ex. 27, Tab A
(Francois Cotton, et al., MRI Contrast Uptake in New Lesions in Relapsing-Remitting MS
Followed at Weekly Intervals, 60 Neurology 640 (2003)). The Cotton study performed weekly
MRIs on patients to obtain information on how long lesions remained enhanced. See id. at 640.
Because of the weekly interval, the gathered data was necessarily somewhat imprecise. For
example, a lesion in the Cotton study which showed up as enhanced in one scan but not another
could have been enhanced anywhere from one to thirteen days. It could have been enhanced
only the date the MRI was performed, lasting one day, or it could have developed the day after
the previous week’s MRI, persisted seven days until the MRI in which it appeared enhanced, and
then another six days until the day before the next weekly MRI. See Entitlement Decision at 10
(illustrating this point with a calendar). Similarly, a lesion which showed enhancement in two
weekly scans could have been enhanced from eight to twenty days, a lesion which showed
enhancement in three weekly scans could have been enhanced fifteen to twenty-seven days, etc.

        Cotton observed twenty-six patients and calculated the mean and median duration of
lesion enhancement. The mean duration was 3.07 weeks; the median was 2 weeks. See Ex. 27,
Tab A, at 640. The special master noted that Dr. Tornatore believed relying on the median to
estimate the life of a lesion was more useful, because it would prevent outlying numbers from
skewing the estimated time frame. Entitlement Decision at 11; see also Tr. 342:3 to 20 (Nov. 17,
2009) (Dr. Tornatore) (“[I]f you have a spectrum of data points, but there are outliers that will
skew the data, the median is a better indicator of what you should look at. And in this case[,] the
median was . . . two weeks . . . . [M]ost lesions will not enhance for more than two weeks.”)

         Two weeks and three days passed between the administration of Mr. C.’s vaccination and
the MRI on December 30, 2004. The MRI detected six unenhanced lesions. Under Dr.
Tornatore’s theory of how the flu vaccine could cause multiple sclerosis, the process of forming
lesions “would take at least a few days and potentially even a week or two.” Tr. 302:4-5 (Nov.
17, 2009) (Dr. Tornatore); see also Tr. 313:6-13 (Nov. 17, 2009) (Dr. Venkatesan) (“[I]f there
were a vaccine associated inflammatory response that represented the beginning of [multiple
sclerosis,] what I would expect to happen would be that in a few days, perhaps even in a week or
two, . . . lesions would develop.”).


                                                13
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 14 of 25



         The special master reasoned that, if the lesions had been formed three days after the
vaccination, on December 16, they would have been two weeks old on the date of Mr. C.’s MRI
on December 30. See Entitlement Decision at 12. According to the Cotton study, about half of
all lesions appear enhanced after two weeks, and half have healed enough not to show
enhancement. See Ex. 27, Tab A, at 640. The special master was persuaded that it was more
likely than not that lesions appeared before a time when they could have been caused by the flu
vaccine. The special master took particular note that six lesions appeared in the MRI conducted
on December 30. He reasoned that, although one lesion had about a 50% chance of becoming
unenhanced within two weeks, the chances that all six lesions would have developed and then
healed in two weeks was very low. Entitlement Decision at 12. 14 He also recognized that
although the lesions could have been formed as early as a few days after the vaccination, they
could have formed much later, under Dr. Tornatore’s own hypothesis. Id.

        The special master explained, “It is important to emphasize the standard for finding the
duration of Mr. C.’s lesions, like the standard for finding all facts in the Vaccine Program, is a
preponderance of the evidence. . . . It is not possible to date the beginning of Mr. C.’s lesions
with absolute certainty, but absolute certainty is not required.” Entitlement Decision at 13 (citing
Moberly, 592 F.3d at 1322; Knudsen, 35 F.3d at 549; Andreu, 569 F.3d at 1380; Bunting v.
Secretary of Health & Human Servs., 931 F.2d 867, 873 (Fed. Cir. 1991)). Based on the
“persuasive testimony of Dr. Venkates[a]n,” the special master found that it was more likely than
not that Mr. C.’s lesions existed before his vaccination. Entitlement Decision at 13.

         Mr. C. argues that the special master’s conclusion was arbitrary and capricious, and
points to additional evidence which cuts against the special master’s conclusion. Dr. Tornatore
testified that Mr. C.’s symptoms on December 24, 2004, represented inflammatory and
enhancing lesions, and Dr. Venkatesan agreed that the lesions were likely enhancing on
December 24. Pet’r’s Mem. at 15 (citing Tr. 375:9-18 (Nov. 17, 2009) (Dr. Tornatore)); Tr.
391:2-12 (Nov. 17, 2009) (Dr. Venkatesan)). Mr. C. argues that the Cotton article supports the
claim that a lesion enhancing on December 24 could have healed by December 30. The Cotton
article states, “[T]he duration of [lesions’] enhancement is clearly skewed toward enhancement
duration of [two] weeks and less.” Ex. 27, Tab A, at 642 (cited in Pet’r’s Mem. at 16).
Moreover, “[t]he distribution of new enhancing lesions according to the duration of their
enhancement is skewed toward enhancement duration of one week and less, suggesting that more
frequent MR follow-up would unveil average duration of enhancement much closer to that found
in animal models of the disease.” Ex. 27, Tab A, at 643. An acute animal model demonstrated
that enhancement did not last for more than five days. 15 Id. If Mr. C. had enhancing lesions on

       14
          This latter reasoning is not necessarily persuasive, taken by itself. Although there were
six lesions, and a lesion generally has a 50% chance of lasting two weeks, it does not necessarily
follow that each of Mr. C.’s lesions had a 50% chance of remaining enhanced for two weeks,
independent of the others. Instead, it is likely the lesions would have been affected by similar
variables and that their healing rates would have been relatively coextensive and comparable
than six lesions randomly selected in six different individuals.
       15
         A chronic animal model showed lesions lasting from five days to five weeks. Ex. 27,
Tab A, at 643. Chronic animal models would be analogous to individuals who develop chronic
                                                14
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 15 of 25



December 24, it would therefore be reasonable to believe that the lesions stopped enhancing by
December 30, six days later.

        In sum, Mr. C. has provided evidence that lesions that were caused after his vaccination
and were enhancing on December 24 could have appeared unenhanced on the MRI conducted on
December 30. Indeed, the court is inclined to believe this order of events is more likely than not
to be accurate. However, the court must review the special master’s findings under the arbitrary
and capricious standard. The special master concluded that because none of the six lesions were
enhancing on December 30, it was more likely than not that they had originated prior to Mr. C.’s
vaccination on December 13. Although new enhancing lesions appear to last a shorter period of
time, see Ex. 27, Tab A, at 643, that does not demonstrate that the special master’s reasoning was
capricious. Few facts are certain in this case. The Cotton article discusses an average range of
time during which lesions are likely to enhance, based on a study that can only estimate how
long a lesion is enhancing within a thirteen-day period. Although it is possible Mr. C.’s lesions
developed after December 13 and enhanced for a short period of time, it is also quite possible
that they predated his vaccination and enhanced for two weeks or more. Were the court deciding
this matter de novo, it would be a close call. In the circumstances, the special master’s finding
cannot be deemed arbitrary, capricious, or an abuse of discretion. Accordingly, the special
master’s denial of Mr. C’s direct-causation claim is upheld.

                          C. Petitioner’s Significant-Aggravation Claim

       1. Use of the Loving test.

        Mr. C. contends that the special master failed to use the correct test to evaluate his
significant-aggravation claim. The special master applied the six-factor test developed in Loving
for evaluating significant-aggravation off-table vaccine claims. Entitlement Decision at 13-14
(quoting Loving, 86 Fed. Cl. at 144). The petitioner argues in his brief that the special master
who decided Mr. C.’s case created the Loving test, and he contends that the test is “arbitrary and
capricious, an abuse of . . . discretion, and not in accordance with the law.” Pet’r’s Mem. at 27-
28. That argument is wrong. The Loving test, in fact, first appears in this court’s decision of the
same name, in which the court reasoned that a petitioner should prevail on a significant-
aggravation off-table claim by establishing the three Althen prongs as well as three elements
identified by the Federal Circuit in a table significant-aggravation claim case, Whitecotton, 81
F.3d 1099. 16 By applying the Loving test, the special master followed the pertinent and
appropriate standard for addressing Mr. C.’s alternative significant-aggravation claim — as he
was obliged to do.

       2. Factual findings concerning significant-aggravation.

       The special master concluded that Mr. C. had failed to establish by preponderant
evidence the fourth prong of the Loving test (which is also the first prong of the Althen test) —


progressive multiple sclerosis, rather than relapsing remitting multiple sclerosis. See Hr’g Tr.
57:16 to 58:1 (Jun. 14, 2011).
       16
          The court’s path in developing the six-factor test is described supra, at 9.
                                                15
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 16 of 25



“a medical theory causally connecting” the aggravation of his multiple sclerosis to the
vaccination. Mr. C. maintains that he met this burden and the special master’s decision was
“arbitrary, an abuse of discretion, and not in accordance with the law.” Pet’r’s Mem. at 31.

        The special master considered Dr. Tornatore’s theory linking Mr. C.’s multiple sclerosis
symptoms with his vaccination. Specifically, Dr. Tornatore hypothesized that portions of the flu
vaccine mimicked the structure of a component of the central nervous system, myelin basic
protein (“MBP”). See Tr. 23:2-12 (Nov. 4, 2008) (Dr. Tornatore). He postulated that the
similarity in the molecular structure of the vaccine and MBP could have led Mr. C.’s immune
system to attack both the antigen from the vaccine and the MBP native to Mr. C. See
Entitlement Decision at 17; Tr. 23:2 to 24:25 (Nov. 4, 2008) (Dr. Tornatore). Both Dr. Tornatore
and Dr. Venkatesan agreed that this kind of antigen cross-reaction can occur in some
circumstances. For example, it is generally accepted that antigen cross-reactions play a role in
the development of Sydenham’s chorea after a streptococcus bacteria infection. See Entitlement
Decision at 17; Tr. 24:2 to 26:22 (Nov. 4, 2008) (Dr. Tornatore); Tr. 147:10 to 149:1 (Nov. 4,
2008) (Dr. Venkatesan).

        In support of his view that an antigen cross-reaction could aggravate Mr. C.’s multiple
sclerosis, Dr. Tornatore relied primarily on an article by Kai Wucherpfennig. See Ex. 19 (Kai
W. Wucherpfennig & Jack L. Strominger, Molecular Mimicry in T Cell-Mediated Autoimmunity:
Viral Peptides Activate Human T-Cell Clones Specific for Myelin Basic Protein, 80 Cell 695
(1995)). Additional support for Dr. Tornatore’s position was found in numerous case reports
which reported the appearance of acute demyelinating conditions following vaccinations.
Entitlement Decision at 20; see Tr. 63:3 to 67:5 (Nov. 4, 2008) (Dr. Tornatore) (discussing the
case reports); Ex. 12, Tab B (Rohit Bakshi & John C. Mazziotta, Acute Transverse Myelitis After
Influenza Vaccination: Magnetic Resonance Imaging Findings, 6 J. Neuroimaging 248 (1996));
Ex. 12, Tab D (Naoko Nakamura et al., Neurologic Complications Associated with Influenza
Vaccination: Two Adult Cases, 42 Internal Medicine 191 (2003)); Ex. 12, Tab E (A.J. Larner &
S.F. Farmer, Myelopathy following influenza vaccination in inflammatory CNS disorder treated
with chronic immunosuppression, 7 European J. of Neurology 731 (2000)).

        The Wucherpfennig article described a study which tested several viral and bacterial
peptides that seemed to share a molecular structure with myelin basic protein. Wucherpfennig
tested the peptides, including several portions from the influenza A virus, to see if they
stimulated the production of T-cells. Ex. 19 at 695-96; Tr. 117:10 to 118:19 (Nov. 4, 2008)
(Dr. Tornatore) (describing the Wucherpfennig study). While three portions of the influenza A
virus did not produce many T-cells, one portion led to a large response. Entitlement Decision at
18. Dr. Tornatore believed this result supported his theory that the flu virus could contain
peptides similar to myelin basic protein and that those peptides could cause an immune reaction.
Tr. 118:13 to 119:3 (Nov. 4, 2008) (Dr. Tornatore).

        The special master rejected Dr. Tornatore’s theory, believing it less likely than not to be
biologically plausible. He observed that the Wucherpfennig study tested the influenza A virus,
not the flu vaccine, and noted “[t]he difference between the influenza vaccine and the influenza
virus could be significant.” Entitlement Decision at 18. As the special master put it, “[d]ifferent
portions of the influenza A virus caused different reactions,” with one stimulating a large

                                                16
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 17 of 25



production of T-cells and the others not, and “there is no evidence that the portions of the
influenza virus that mimicked myelin basic protein are the portions of the virus used in the
influenza vaccine.” Id.; see also Tr. 101:11-16 (Nov. 4, 2008) (Dr. Tornatore) (“[W]e have no
idea what . . . influenza proteins [were] . . . in [the vaccine administered to Mr. C.].”).
Additionally, the Wucherpfennig study was conducted in vitro, and Dr. Venkatesan was
unconvinced that the results of an in vitro study could be extrapolated to cases involving human
beings. Tr. 155:20 to 156:15 (Nov. 8, 2004) (Dr. Venkatesan).

         The special master also reviewed a study in which patients with multiple sclerosis were
given the influenza vaccine. Two and four weeks after the vaccination, their blood was tested to
see if they developed an increased number of T-cells that reacted with myelin basic protein. The
study found a “lack of increased responses of autoreactive T cells during vaccination.” Ex. A,
Tab 5 (N.F. Moriabadi, et al., Influenza vaccination in MS: Absence of T-cell response against
white matter proteins, 56 Neurology 938, 943 (2001)); see also Tr. 171:2-20 (Nov. 4, 2008)
(Dr. Venkatesan). The authors stated their study could “reduce concerns about a putative
triggering of autoimmune responses by mechanisms such as molecular mimicry.” Ex. A, Tab 5,
at 943. The Moriabadi article thus functions as evidence that the findings in the Wucherpfennig
article might not extend to situations involving the flu vaccine.

        The special master did not find the Wucherpfennig article and the case reports cited by
Dr. Tornatore sufficient to establish, by preponderant evidence, a biologically plausible theory
linking Mr. C.’s vaccination and aggravation of multiple sclerosis. Particularly, the special
master found the findings of the Wucherpfenning article were undermined by the Moriabadi
study.

        Moreover, he found that any inference of causation from the case reports that
demyelinating conditions could be caused by the flu vaccine was undercut by three articles,
submitted by the government, reporting how the flu vaccine affects people already afflicted with
multiple sclerosis. One study involving 643 multiple sclerosis patients “suggest[ed] that
commonly administered vaccinations (specifically, against tetanus, hepatitis B, and influenza)
d[id] not increase the risk of relapse in patients with multiple sclerosis.” Ex. A, Tab 1 (Christian
Confavreux, et al., Vaccinations and the Risk of Relapse in Multiple Sclerosis, 344 New England
J. of Medicine 319, 324 (2001)). A second study, involving 440 case subjects and 950 control
subjects, “did not find any increased relative risks regardless of the timing of vaccination,
indicating that vaccinations do not cause [central nervous system] demyelination, nor do they
trigger its clinical manifestation in those with subclinical disease.” Ex. A, Tab 2 (Frank
DeStephano, et al., Vaccinations and Risk of Central Nervous System Demyelinating Diseases in
Adults, 60 Arch. Neurol. 504, 507 (2003)). In a third study, researchers “conducted a
multicenter, prospective, randomized, double-blind trial of influenza immunization in patients
with relapsing/remitting [multiple sclerosis].” See Ex. A, Tab 3 (A.E. Miller, et al., A
multicenter, randomized, double-blind placebo-controlled trial of influenza immunization in
multiple sclerosis, 48 Neurology 312, 312 (1997)). One hundred and four patients were divided
into two groups, one of which received the flu vaccine and the other of which received a placebo.
“The two groups showed no [statistically significant] difference in attack rate or disease
progression over 6 months. Influenza immunization in [multiple sclerosis] patients is neither
associated with an increased exacerbation rate in the postvaccination period nor a change in

                                                17
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 18 of 25



disease course over the subsequent 6 months.” Id. Additionally, when the American Academy
of Neurology commissioned the MS Council for Clinical Practice Guidelines to address “the
safety of immunization in patients with MS, particularly . . . the risk of relapse after
vaccination[,]” the researchers concluded that “there is definitive evidence against a substantial
increased risk of MS exacerbation after influenza vaccine.” Ex. A, Tab 4 (Oliver T.
Rutschmann, et al., Immunization and MS: A summary of published evidence and
recommendations, 59 Neurology 1837, 1837, 1840 (2002)). Considering these studies,
Dr. Venkatesan concluded that Dr. Tornatore’s theory was “extremely unlikely,” although not
impossible. Tr. 149:13 to 150:21 (Nov. 4, 2008).

        The special master concluded that Mr. C. had not established by preponderant evidence
“‘a medical theory causally connecting [his] significantly worsened condition to [his]
vaccination.’” Entitlement Decision at 23 (quoting Loving, 86 Fed. Cl. at 144). Mr. C. asserts
this finding is arbitrary and capricious for several reasons. First, he contends that the
Wucherpfennig article demonstrates the possibility of the theory that the flu vaccine can
aggravate multiple sclerosis. See Pet’r’s Mem. at 29. Second, he notes that Dr. Venkatesan
agreed that while there is not an increase of multiple sclerosis in patients who have had the flu,
there “does appear to be an increase in exacerbations of [multiple sclerosis] in patients who have
upper respiratory illnesses in general, of which influenza is one.” Tr. 137:24 to 138:3 (Nov. 4,
2008) (Dr. Venkatesan). Finally, Mr. C. points out that the Confavreux article showed an
increase in exacerbations in MS patients after receiving flu shots at a rate almost double that of
the control group, even if that rate was not found by the authors to be statistically significant.
See Pet’r’s Mem. at 30 (citing Ex. A, Tab 1). The Miller study, while not showing a statistically
significant increase in multiple sclerosis exacerbations, also reported that almost twice as many
multiple sclerosis patients who received a flu vaccine suffered exacerbations compared to those
who had received a placebo. See Ex. A, Tab 3, at 313. 17

       The evidence in this case is so closely balanced that the decision could have gone either
way. The government’s expert, Dr. Venkatesan, agreed that Dr. Tornatore’s theory was not
impossible, and the Confavreux and Miller articles indicate that flu vaccinations were correlated
with an increase in exacerbations of multiple sclerosis symptoms. More relevantly, while the
government’s studies are evidence that the flu vaccine does not generally cause aggravations of
multiple sclerosis, they do not show that it is implausible that the flu vaccine could cause
aggravations of multiple sclerosis in some patients. An overwhelming percentage of the
population will not have a negative reaction to particular vaccines, but that does not prove that
those vaccines never cause medical complications.

      Nonetheless, the court cannot say that the special master’s findings were arbitrary.
Although case reports alone have been enough to satisfy the “plausible theory” prong, see Rotoli,

       17
          The study explained, “Forty-nine patients received influenza vaccine and 54 patients
received placebo. . . . During the 28 days after inoculation, three vaccine patients and two
placebo patients experienced MS exacerbations (no significant difference). Over the 6-month
follow-up period, vaccine patients experienced 11 attacks (annual rate 0.45) and placebo
patients, 6 attacks (annual rate 0.22). The difference in attack rates was not statistically
significant.” Ex. A, Tab 3, at 313.
                                                18
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 19 of 25



89 Fed. Cl. at 86-87, the studies provided by the government suggest it might be incorrect to
conclude that the chronological picture painted by the case reports illustrates anything other than
correlation. The Moriabadi study also undercuts the argument that the findings of the
Wucherpfennig article extend to the flu vaccine.
        Having considered each of the petitioner’s arguments, the special master’s Entitlement
Decision will be upheld.

                                       II. Redaction Decision

        The Vaccine Act provides that, “[a] decision of a special master or the court in a
proceeding shall be disclosed,” with an explicit exception for “medical files and similar files the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” 42 U.S.C.
§ 300aa-12(d)(4)(B)(ii). “[I]f the person who submitted such information objects to the inclusion
of such information in the decision, the decision shall be disclosed without such information.”
Id. 18 Mr. C. has requested that his name be redacted, or alternatively, that information
concerning his medical records be redacted from the special master’s opinion prior to
publication. Pet’r’s Mem. In Support of Mot. for Review of Redacted Decision (“Pet’r’s
Redaction Mem.”). The government resists any redactions. Resp’t’s Resp. to Pet’r’s Br.
Regarding Redaction (“Resp’t’s Redaction Mem.”).

                                        A. Standard for Review

        Notwithstanding the fact that the special master’s Redaction Decision turned virtually
entirely upon issues of statutory interpretation, the government urges the court to regard the
special master’s decision to deny redaction as an exercise of discretion. See Resp’t’s Redaction
Mem. at 4. The court cannot accept this contention by the government. It is axiomatic that the
court “owe[s] no deference to the . . . special master on questions of law.” Broekelschen, 618
F.3d at 1345. Statutory construction is a matter of law, reviewed de novo. Hawkins v. United

       18
            In full, 42 U.S.C. § 300aa-12(d)(4)(B) provides:

                 A decision of a special master or the court in a proceeding
                 shall be disclosed, except that if the decision is to include
                 information
                    (i) which is trade secret or commercial or
                         financial information which is privileged
                         and confidential, or
                    (ii) which are medical files and similar files
                         the disclosure of which would constitute a
                         clearly unwarranted invasion of privacy,
                 and if the person who submitted such information
                 objects to the inclusion of such information in the
                 decision, the decision shall be disclosed without
                 such information.

Vaccine Rule 18(b) mirrors the language of 42 U.S.C. § 300a-12(d)(4)(B).
                                                   19
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 20 of 25



States, 469 F.3d 993, 1000 (Fed. Cir. 2006); see also Commercial Energies, Inc. v. United States,
929 F.2d 682, 684 (Fed. Cir. 1991) (“The construction of [a] statute is a question of law which
we review de novo.”) (citing Frank’s Livestock & Poultry Farm, Inc. v. United States, 905 F.2d
1515, 1517 (Fed. Cir. 1990)). In the circumstances of this case, the court treats the issue of
redaction as a question of law with a relatively minimal attendant question of applying law to the
facts.

        In determining the meaning of a particular statutory term or phrase, the “starting point
must be the language employed by Congress.” American Tobacco Co. v. Patterson, 456 U.S. 63,
68 (1982) (internal quotations omitted). “Where the intent [of a statute] is unambiguously
expressed by the plain meaning of the statutory text, we give effect to that clear language.”
Sharp v. United States, 580 F.3d 1234, 1237 (Fed. Cir. 2009). However, the meaning of the
phrase “clearly unwarranted invasion of privacy” is not plainly understood by reference to the
text alone. “[W]here a statute is of doubtful meaning . . . the court may look into prior and
contemporaneous acts, the reasons which induced the act in question, the mischiefs intended to
be remedied, the extraneous circumstances, and the purpose intended to be accomplished by it, to
determine its proper construction.” Hamilton v. Rathbone, 175 U.S. 414, 419 (1899). Statutory
interpretation requires courts to “read[] the whole statutory text, consider[] the purpose and
context of the statute, and consult[] any precedents or authorities that inform that analysis.”
Dolan v. United States Postal Serv., 546 U.S. 481, 486 (2006). Accordingly, the court will look
to the context and legislative history of the Vaccine Act to elucidate the nature of a “clearly
unwarranted invasion of privacy,” as well as how similar language has been interpreted in other
correlative contexts.

                             B. Statutory Evolution of the Vaccine Act

        Congress passed the Vaccine Act in 1986 for purposes of aiding “development of new
vaccines [and] the improvement of existing vaccines[,] and . . . to compensate the victims of
vaccine-related injuries.” H.R. Rep. No. 99-908, at 1 (1986). The Senate Committee report
concerning the 1986 legislation noted the importance of public access to information about
adverse vaccine reactions. The Committee stated that it “believe[d] that information regarding
the adverse reactions to childhood vaccines[,] including locality and State of immunization, date
of the vaccination, information concerning reported symptoms, manifestation of resulting illness,
disability, or injury and name of the health care provider should be a matter of public record.” S.
Rep. No. 99-483, at 17-18 (1986). The Committee concurrently attached much less importance
to disclosure of the names of those adversely affected by vaccines, noting that it “d[id] not
believe that the name of the individual who suffered an adverse reaction need be available to the
public.” Id. at 18.

        As part of the Vaccine Act as adopted in 1986, Congress provided measures to protect the
privacy of those whose health had been affected by vaccines. First, individual-identifying
information submitted to government agencies could not be disclosed to the public,
notwithstanding provisions of the Freedom of Information Act (“FOIA”) providing otherwise.
See 42 U.S.C. § 300aa-25(c)(1) (Supp. V 1988) (“Information which is in the possession of the
Federal Government and State and local governments under this section and which may identify
an individual shall not be made available under section 552 of Title 5 [the Freedom of

                                                20
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 21 of 25



Information Act], or otherwise, to any person except . . . the person who received the vaccine,
or . . . the legal representative of such person.”); 42 U.S.C. § 300aa-25(c)(2) (Supp. V 1988)
(“[T]he term ‘information which may identify an individual’ shall be limited to[,]” among other
things, “the name . . . of the person who received the vaccine.”). Second, information submitted
by parties during the compensation proceedings should not be disclosed to outside parties, absent
the consent of the person who submitted the information. See 42 U.S.C. § 300aa-12(c) (Supp. V
1988) (“Information submitted to a special master in a proceeding on a petition may not be
disclosed to a person who is not a party to the proceeding without express consent of the person
who submitted the information.”). 19

        Three years later, Congress amended the Vaccine Act. See Pub. L. No. 101–239, § 6601,
103 Stat. 2106, 2285 (1989). The 1989 amendments were largely designed to effectuate the
original goals of the 1986 Vaccine Act, namely, the creation of “a compensation procedure that
administered awards ‘quickly, easily, and with certainty and generosity.’” H.R. Rep. No. 101-
247, at 509 (1989) (citing H.R. Rep. No. 99-908). The House Committee disapproved of the
early experience under the 1986 Act, expressing regret that “all participants ha[d], to some
degree, maintained their traditional adversarial litigation postures.” H.R. Rep. No. 101-247, at
510. The Committee reiterated “its intent that the vaccine injury compensation system be
informal, flexible, and expeditious” and “its expectation that the [s]pecial [m]aster . . . will allow
the proceedings to be direct and straightforward.” Id. As part of the 1989 amendments,
Congress added the privacy provision that became 42 U.S.C. § 300aa-12(d)(4)(B). The
operative language of the 1989 amendment Congress adopted in 42 U.S.C. § 300aa-
12(d)(4)(B)(ii) — calling for redactions to prevent “a clearly warranted invasion of privacy” —
mirrored the words of an exemption to FOIA disclosure obligations which had been enacted
twenty years earlier — barring disclosures that would be “a clearly unwarranted invasion of
personal privacy.” 5 U.S.C. § 552(b)(6). As previously noted, Congress had shown an
awareness of the provisions of FOIA in crafting the text embodied in the original 1986
enactment of the Vaccine Act.

                   C. Analogous Language in the Freedom of Information Act

       FOIA requires the government to make available public information, excepting, among
other things, “personnel and medical files and similar files the disclosure of which would
constitute a clearly unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(6). This
provision in FOIA was enacted in 1966 and has not been changed since. See Pub. L. No. 89-487,
80 Stat. 250 (1966). The direct parallel between this exemption in FOIA and the privacy
provision added by the 1989 amendments to the Vaccine Act is instructive. “[W]here two
statutes use similar language we generally take this as a ‘strong indication that [they] should be
interpreted pari passu.’” Smith v. City of Jackson, 544 U.S. 228, 260 (2005) (quoting Northcross
v. Board of Educ., 412 U.S. 427, 428 (1973) (per curiam)).

       19
         This text was moved to a different subsection of 42 U.S.C. § 300aa-12 after subsequent
amendments to the Vaccine Act. See 42 U.S.C. § 300aa-12(d)(4)(A) (2006) (“Except as
provided in subparagraph (B), information submitted to a special master or the court in a
proceeding on a petition may not be disclosed to a person who is not a party to the proceeding
without the express written consent of the person who submitted the information.”)
                                                 21
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 22 of 25




        Paragraph 552(b)(6), commonly called Exemption 6 to FOIA, has been the subject of
several decisions by the Supreme Court, including especially for purposes of this case, United
States Dep’t of State v. Ray, 502 U.S. 164 (1991). In Ray, the Court considered whether the
disclosure of records of interviews of unsuccessful Haitian emigrants constituted “a clearly
unwarranted invasion of personal privacy” when the records disclosed the names and other
identifying information of the interviewees, but that information had been redacted. Id. at 165,
173. The Court explained, “The question in this case is whether petitioner has discharged its
burden of demonstrating that the disclosure . . . adequately served the statutory purpose [of
FOIA] and that the release of the information identifying the particular [persons] would
constitute a clearly unwarranted invasion of their privacy.” Id. at 175.

         Paragraph 552(b)(6) “requires the Court to balance ‘the individual’s right of privacy’
against the basic policy of opening ‘agency action to the light of public scrutiny.’” Ray, 502
U.S. at 175 (quoting Department of Air Force v. Rose, 425 U.S. 352, 372 (1976)). Even when
“the interest in protecting the privacy of the redacted information is substantial, [the court] must
still consider the importance of the public interest in its disclosure. For unless the invasion of
privacy is ‘clearly unwarranted,’ the public interest in disclosure must prevail.” Ray, 502 U.S. at
177. However, the Court opined that redaction of personal information may serve statutory
purposes, i.e., if the “public interest [would be] adequately served by disclosure of the redacted
[documents,] disclosure of the unredacted documents would . . . constitute a clearly unwarranted
invasion of . . . privacy.” Id. at 178.

        The notion of privacy “encompasses the individual’s control of information concerning
his or her person.” United States Dep’t of Justice v. Reporters Comm. for Freedom of Press, 489
U.S. 749, 763 (1989). 20 Even when “‘an event is not wholly ‘private,’” an individual retains an
“‘interest in limiting disclosure or dissemination of the information.’” Reporters Comm., 489
U.S. at 770 (quoting Wm. Rehnquist, Is an Expanded Right of Privacy Consistent with Fair and
Effective Law Enforcement?, Nelson Timothy Stevens Lectures, University of Kansas Law
School, pt. 1, 13 (Sept. 26-27, 1974)).

        “It is well established that identifying information such as names, addresses, and other
personal information falls within the ambit of privacy concerns under FOIA.” Associated Press
v. United States Dep’t of Def., 554 F.3d 274, 285 (2d Cir. 2009); see also Rose, 425 U.S. at 380-
81 (recognizing privacy interest served by redaction of identifying information about cadets
present in summaries arising out of ethics hearings at the Air Force Academy); Ray, 502 U.S. at
175-77, (reasoning privacy interest in names of interviewees is significant where their names
could then be linked to other personal information in records of interviews); Maynard v. Central
Intelligence Agency, 986 F.2d 547, 566-67 (1st Cir. 1993) (holding that a person’s name, place of
birth, address, and occupation constitute examples of information, the disclosure of which would
constitute a significant invasion of privacy). “Although disclosure of . . . personal information

       20
         Although “Reporters Committee involved [Exemption 7, 5 U.S.C. 552(b)(7)(C),] its
discussion governs [Exemption 6], for the noted differences bear only on the type of information
sought and the degree of invasion to a privacy interest that will be tolerated.” Federal Labor
Relations Auth. v. United States Dep’t of Veterans Affairs, 958 F.2d 503, 510 (2d Cir. 1992).
                                                 22
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 23 of 25



constitutes only a de minimis invasion of privacy when the identities of the interviewees are
unknown, the invasion of privacy becomes significant when the personal information is linked to
particular [people].” Ray, 502 U.S. at 176.

                                   D. The Special Master’s Decision

         In his Redaction Decision, the special master abjured any reference to, or reliance upon,
the context and legislative history of the privacy provision of the Vaccine Act and the virtually
identical provision in FOIA. Instead, the special master focused exclusively upon the common
law history of access to judicial decisions, and specifically on precedent in the Ninth Circuit
relating to designation of anonymous plaintiffs in civil cases. See Redaction Decision, at 2-4
(citing, quoting, and analyzing Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th
Cir. 2006)). 21

         The special master’s analogy to the public’s right to access to judicial files is inapposite
to petitions filed and decisions rendered under the Vaccine Act. Proceedings under the Vaccine
Act are designed to be quite different from civil proceedings in court. In proposing the 1989
Amendments, the House Committee explained that “[t]he [Vaccine Act compensation] system
was intended to be ‘fair, simple, and easy to administer’ . . . . The powers of discovery within
the proceeding were given over to the [m]aster, . . . in order ‘to replace the usual rules of
discovery in civil actions in Federal Courts.’” H.R. Rep. No. 101-247, at 509-10 (quoting H.R.
Rep. No. 99–908). While all court documents are publicly accessible in civil proceedings by
default, absent a specific and persuasive reason to the contrary, no documents filed as part of a
Vaccine Act petition can be accessed by the public apart from the published decisions of the
special master and reviewing courts. See 42 U.S.C. § 300aa-12(d)(4). This difference was
established by Congress because of the different public interests in civil proceedings and
Vaccine Act proceedings. As the Federal Circuit has noted, the Vaccine Act encourages
resolution of claims in the Vaccine Program and discourages civil litigation over such claims
where similar privacy protections are not provided. See Zatuchni v. Secretary of Health &
Human Servs., 516 F.3d 1312, 1316 (Fed. Cir. 2008). 22




       21
         The Ninth Circuit’s criteria for allowing anonymous designations of plaintiffs can be
draconian in application and result. See Doe v. Kamehameha Schools/Bernice Pauahi Bishop
Estate, 625 F.3d 1182 (9th Cir. 2010) (order denying rehearing en banc of a decision refusing to
allow anonymous designation of plaintiffs), id. at 1182 (Kozinski, C. J., dissenting from denial of
rehearing en banc), id. at 1184 (Reinhardt, J. with whom Kozinski, C. J. joins, also dissenting
from denial of rehearing en banc).
       22
          The court of appeals in Zatuchni noted that proceedings under the Vaccine Act are
supposed to be an “expeditious[] and informal” means of compensating persons injured by
vaccines. 516 F.3d at 1316 (quoting 42 U.S.C. § 300aa-12(d)(2)(A)). Indeed, “[t]he Act
requires that . . . a petition [seeking compensation for a vaccine injury] be filed, and judgment
from the Program rejected, prior to bringing an action in state court.” Id. at 1316 n.3 (citing 42
U.S.C. § 300aa-11(2)(A)-21).
                                                  23
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 24 of 25



        This right to access public records in civil cases is justified by the interest of citizens in
“keep[ing] a watchful eye on the workings of public agencies.” Nixon v. Warner Commc’ns,
Inc., 435 U.S. 589, 598 (1978). In contrast, the purposes of the Vaccine Act are to compensate
those injured by vaccines and to disseminate information to the public about vaccines. See H.R.
Rep. No. 99-908, at 1; S. Rep. No. 99-483, at 18 (explaining the Vaccine Act is “designed to
widen the knowledge about adverse reactions to childhood vaccines” and noting “the primary
method of reducing adverse [vaccine] reactions [in] children is through an informed public”).
These purposes are not served by requiring petitioner’s names to be published even where an
objection is made on reasonable grounds. Such disclosure may discourage potential petitioners
from filing new cases, thus tending to inhibit public awareness of vaccines and their risks.
Importantly, in this vein, the Senate Committee Report on the bill that became the Vaccine Act
in 1986 specified that the committee “d[id] not believe that the name of the individual who
suffered an adverse reaction need be available to the public.” S. Rep. No. 99-483, at 18.

        In light of the different public purposes behind disclosure in civil and vaccine cases, and
the strength of the analogy between the terms of FOIA and the Vaccine Act, the special master
erred in relying on precedents in the Ninth Circuit regarding criteria for designation of
anonymous plaintiffs as a basis for construing the privacy provisions of the Vaccine Act.

                                            E. Synthesis

        The privacy provisions of the Vaccine Act should be construed in concert with the
privacy provisions of FOIA, which the Vaccine Act provisions manifestly mirror. The matching
statutory terms constitute words of art that convey a particular meaning for both contexts.
Accordingly, the court finds that it is appropriate to balance Mr. C.’s right of privacy against the
public purpose of the Vaccine Act, in a manner analogous to the balancing of private and public
interests under FOIA.

        Mr. C. seeks redaction of either his name or his medical condition. The release of either
of these types of information would constitute a substantial invasion of privacy. As the Supreme
Court noted in Ray, “the invasion of privacy becomes significant when the personal information
is linked to particular [people].” 502 U.S. at 176. Redaction would be necessary to prevent
Mr. C.’s name from being “linked” to information concerning his medical condition. 23

       Mr. C.’s interest must be weighed against the government’s interest in public
disclosure. 24 As previously described, the Vaccine Act aims to increase public awareness of



       23
          The government points out that redacting Mr. C.’s name would not necessarily keep his
identity a secret. However, even when information “is not wholly private[,]” an individual
retains an “interest in limiting disclosure or dissemination of the information.” Reporters
Comm., 489 U.S. at 770 (internal quotations omitted).
       24
          In the FOIA context, the Supreme Court has narrowly defined the “public interest”
relevant to balancing under Exemption 6 as “the extent to which disclosure would serve the core
purpose of the FOIA, which is contribut[ing] significantly to the public understanding of the
                                                  24
        Case 1:07-vv-00456-CFL Document 88 Filed 07/22/11 Page 25 of 25



vaccines and the medical conditions they may cause. Effecting this goal requires public access
to information about vaccinations and ensuing conditions. Disclosure of Mr. C.’s medical
condition constitutes a significant invasion of privacy. However, because of the notable public
interest in Mr. C.’s vaccination, subsequent medical history, and claim of an adverse reaction,
the court cannot say that disclosure of his medical information necessarily constitutes an
unwarranted invasion of privacy. In contrast, there is no public interest in the disclosure of Mr.
C.’s name. Mr. C.’s identity has no effect on the public’s awareness of vaccines and their
potential risks. He has a rational concern that disclosure of his identity would have potential
adverse consequences to his ability to perform his assigned work responsibilities. Indeed, where
“[t]here is no relevant public purpose to be weighed against [a] threatened invasion[,] . . . any
invasion of privacy threatened by disclosure . . . is ‘clearly unwarranted.’” Federal Labor
Relations Auth., 958 F.2d at 513.

       Mr. C.’s name shall be redacted from the special master’s Entitlement and Redaction
Decisions.

                                        CONCLUSION

       For the reasons stated, petitioner’s motion for review of the special master’s Entitlement
Decision is DENIED, but his motion for review of the special master’s Redaction Decision is
GRANTED. The special master’s Entitlement Decision is AFFIRMED, while the special
master’s decision denying redaction is REVERSED. The case is REMANDED to the special
master for further proceedings in accord with this decision. Petitioner shall have twenty days to
submit to the special master proposed redactions in the special master’s decisions.

       It is so ORDERED.


                                                  s/ Charles F. Lettow
                                                  Charles F. Lettow
                                                  Judge




operations or activities of the government.” Department of Def., 510 U.S. at 495 (quotations and
emphasis omitted).
                                                25
